     Case 3:21-cr-03198-AJB   Document 53   Filed 01/04/22   PageID.164    Page 1 of 5




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 7
 8                      UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,  ) Case No.: 21CR3198-AJB
11                              )
                      Plaintiff,) FINDINGS AND RECOMMENDATION
12
                                ) OF THE MAGISTRATE JUDGE
     v.
13                              ) UPON A PLEA OF GUILTY
     Samantha Condes,           )
14
                                )
15                              )
                      Defendant.)
16
17
           Upon Defendant’s request to enter a guilty plea to
18
     Count 1 of the Information pursuant to Rule 11 of the
19
     Federal Rules of Criminal Procedure, this matter was
20
     referred to the Magistrate Judge by the District Judge,
21
     with the consents of the Defendant, counsel for the
22
     Defendant, and counsel for the United States.
23
           Thereafter, the matter came on for a hearing on
24
     Defendant’s guilty plea, in full compliance with Rule
25
     11, Federal Rules of Criminal Procedure, before the
26
     Magistrate Judge, in open court and on the record.
27
28

                                                                          21CR3198-AJB
     Case 3:21-cr-03198-AJB   Document 53   Filed 01/04/22   PageID.165    Page 2 of 5




 1         In consideration of that hearing and the allocution
 2   made by the Defendant under oath on the record and in
 3   the presence of counsel, and the remarks of the
 4   Assistant United States Attorney,
 5         I make the following FINDINGS - that the Defendant
 6   understands:
 7
           1.    The government’s right, in a prosecution for
 8
                 perjury or false statement, to use against the
 9
                 defendant any statement that the defendant
10
11               gives under oath;
12         2.    The right to persist in a plea of “not guilty”;
13         3.    The right to a speedy and public trial;
14
           4.    The right to trial by jury, or the ability to
15
                 waive that right and have a judge try the case
16
                 without a jury;
17
18         5.    The right to be represented by counsel-and if
19               necessary to have the court appoint counsel-at
20               trial and at every other stage of the
21
                 proceeding;
22
           6.    The right at trial to confront and cross-
23
                 examine adverse witnesses, to be protected from
24
25               compelled self-incrimination, to testify and
26               present evidence, and to compel the attendance
27               of witnesses;
28

                                                                          21CR3198-AJB
     Case 3:21-cr-03198-AJB   Document 53   Filed 01/04/22   PageID.166    Page 3 of 5




 1         7.    The defendant’s waiver of these trial rights if
 2               the court accepts a guilty plea or nolo
 3
                 contendere;
 4
           8.    The nature of each charge to which the
 5
                 defendant is pleading;
 6
 7         9.    Any maximum possible penalty, including
 8               imprisonment, fine, and term of supervised
 9               release;
10
           10. Any applicable mandatory minimum penalty;
11
           11. Any applicable forfeiture;
12
           12. The court’s authority to order restitution;
13
14         13. The court’s obligation to impose a special
15               assessment;
16         14. In determining a sentence, the court’s
17
                 obligation to calculate the applicable
18
                 sentencing guideline range and to consider that
19
                 range, possible departures under the Sentencing
20
21               Guidelines, and other sentencing factors under
22               18 U.S.C § 3553(a);
23         15. The term of any plea agreement and any
24
                 provision in that agreement that waives the
25
                 right to appeal or to collaterally attack the
26
                 conviction and sentence; and
27
28

                                                                          21CR3198-AJB
     Case 3:21-cr-03198-AJB   Document 53   Filed 01/04/22   PageID.167    Page 4 of 5




 1         16. That, if convicted, a defendant who is not a
 2               United States citizen may be removed from the
 3
                 United States, denied citizenship, and denied
 4
                 admission to the United States in the future.
 5
     I further find that:
 6
 7         17. The defendant is competent to enter a plea;
 8         18. The defendant’s guilty plea is made knowingly
 9
                 and voluntarily, and did not result from force,
10
                 threats or promises (other than those made in a
11
                 plea agreement); and
12
13         19. There is a factual basis for Defendant’s plea.
14         I therefore RECOMMEND that the District Judge
15   accept the Defendant’s guilty plea to Count 1 of the
16
     Information.
17
           The sentencing hearing will be before United States
18
     District Judge Anthony J. Battaglia, on 3/28/2022 at
19
20   9:00 AM. The court excludes time from 1/4/2022 through
21   3/28/2022        pursuant to 18 USC § 3161(h)(1)(G) on the
22   ground that the District Judge will be considering the
23
     proposed plea agreement.
24
           Objections to these Findings and Recommendations
25
     are waived by the parties if not made within 14 days of
26
27   this order. If the parties waive the preparation of the
28

                                                                          21CR3198-AJB
     Case 3:21-cr-03198-AJB   Document 53   Filed 01/04/22   PageID.168    Page 5 of 5




 1   Presentence Report, objections are due within three
 2   days of this order.
 3
 4
      Dated: 1/4/2022
 5
                                       Hon. Michael S. Berg
 6
                                       United States Magistrate
 7                                     Judge
 8
 9
10   Copies to:
     Judge Anthony J. Battaglia
11
     Assistant United States Attorney
12   Counsel for Defendant
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